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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

KIRK NIELSEN et al.,

      Plaintiffs,                            CONSOLIDATED CASES
                                             Case No. 4:20-cv-00236-RH-MJF
v.

RON DESANTIS, in his official as
Governor of the State of Florida, et al.,

     Defendants.
__________________________________/

     PLAINTIFF -INTERVENORS’ MOTION FOR LEAVE TO FILE A
                  SUPPLEMENTAL TRIAL BRIEF

      COMES NOW, Intervenors, DEBORAH C. GRUBB, DOUGLAS E. HALL,

CARL F. MCCOY, JAMES K. KRACHT, DOLOR GINCHEREAU, and the

FLORIDA COUNCIL OF THE BLIND, by and through the undersigned counsel,

respectfully requests this Court leave to file a Supplemental Trial Brief addressing

the Secretary of States interim approval of Democracy Live OmniBallot, and in

support states as follows:

      Pursuant to the Pretrial Order [DE-573] – “The defendant Supervisors of

Elections may file by 7/17/2020 a supplemental trial brief addressing the Secretary

of States interim approval of Democracy Live OmniBallot”.
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                                                              Nielsen, et al v. DeSantis et al
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      As stated, many of the issues in the Grubb Plaintiff’s would like to address in

Supplemental Trial Brief is how the Secretary of States interim approval of

Democracy Live OmniBallot as well, including the burdens of proof of the

respective parties herein.

      WHEREFORE, intervenors, DEBORAH C. GRUBB, DOUGLAS E.

HALL, CARL F. MCCOY, JAMES K. KRACHT, DOLOR GINCHEREAU, and

the FLORIDA COUNCIL OF THE BLIND, INC. respectfully request that this court

grant leave to file a Supplemental Trial Brief addressing the Secretary of States

interim approval of Democracy Live OmniBallot, and for further relief as is just and

equitable.

      Respectfully Submitted on this 16th day of July 2020.

                                                 By: s/ Matthew W. Dietz _____
                                                 Matthew W. Dietz, Esq.
                                                 Florida Bar No. 84905




  Disability Independence Group, Inc. * 2990 Southwest 35th Avenue * Miami, Florida 33133
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                     CERTIFICATION OF WORD COUNT

      I HEREBY CERTIFY, pursuant to Northern District of Florida Local Rule

7.1(F), that this motion contains approximately 187 words.

                                  By: s/ Matthew W. Dietz _____
                                  Matthew W. Dietz, Esq.
                                  Florida Bar No. 84905


                       CERTIFICATE OF COMPLIANCE
      Pursuant to Local Rule 7.1(B), the attorney for the moving party made an

attempt in good faith to resolve the issue through a meaningful conference with all

of the counsel in attendance at a conference of all of the parties, and the attorneys

for the defendants could not state whether they do not oppose to the relief requested

herein.

                                  By: s/ Matthew W. Dietz _____
                                  Matthew W. Dietz, Esq.
                                  Florida Bar No. 84905




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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on July 16, 2020, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send

notice of electronic filing to all parties and counsel of record in the herewith service

list, or in some other authorized manner for those counsel or parties who are not

authorized to receive notices electronically.

                                  By: s/ Matthew W. Dietz
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                                  Florida Bar No.: 00849
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